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14                                UNITED STATES DISTRICT COURT
15                               NORTHERN DISTRICT OF CALIFORNIA
16                                    SAN FRANCISCO DIVISION
17   SONOS, INC.,                                  Case No. 3:20-cv-06754-WHA
18               Plaintiff and Counterdefendant,   Consolidated with
                                                   Case No. 3:21-cv-07559-WHA
19   v.
                                                   DECLARATION OF JOSEPH R.
20   GOOGLE LLC,                                   KOLKER IN SUPPORT OF SONOS,
                                                   INC.’S BRIEF RE CLAIM
21               Defendant and Counterclaimant.    CONSTRUCTION
22                                                 Judge: Hon. William Alsup
                                                   Courtroom: 12, 19th Floor
23                                                 Trial Date: May 8, 2023
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                                                                DECL. OF J. KOLKER ISO SONOS, INC.’S
                                                                      BRIEF RE CLAIM CONSTRUCTION
                                                                      CASE NO. 3:20-CV-06754-WHA
     Case 3:20-cv-06754-WHA Document 701-1 Filed 05/10/23 Page 2 of 2



 1            I, Joseph R. Kolker, declare as follows and would so testify under oath if called upon to
 2   do so:
 3            1.     I am an attorney with the law firm of Orrick, Herrington & Sutcliffe LLP, counsel
 4   of record to Sonos, Inc. (“Sonos”) in the above-captioned matter. I am a member in good
 5   standing of the New York State Bar and am admitted to practice before this Court in this matter
 6   pro hac vice. I make this declaration based on my personal knowledge, unless otherwise noted.
 7   If called, I can and will testify competently to the matters set forth herein.
 8            2.     I make this declaration in support of Sonos, Inc.’s Brief Regarding Claim
 9   Construction.
10            3.     Attached hereto as Exhibit 1 is a true and correct copy of excerpts from the
11   deposition transcript of Dan Schonfeld, taken on February 3, 2023.
12            4.     Attached hereto as Exhibit 2 is a true and correct copy of excerpts from the
13   deposition transcript of Kenneth J. MacKay, taken on May 10, 2022.
14            I declare under penalty of perjury that the foregoing is true and correct to the best of my
15   knowledge. Executed this 10th day of May, 2023 in San Francisco, California.
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                                                                          DECL. OF J. KOLKER ISO SONOS, INC.’S
                                                     1                           BRIEF RE CLAIM CONSTRUCTION
                                                                                 CASE NO. 3:20-CV-06754-WHA
